Case 2:05-Cv-02311-.]PI\/|-tmp Document 13 Filed 08/01/05 Page 1 of 2 Page|D 3

 

IN THE UNITED srATEs DISTRICT CoURr F"'ED BY _t' ......= D.c.
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MAE H. BRooKs, CU<' U--i"$ -'FTPKJTOOUm
W/[) Cz§. }: LTV;QHFS
Plainriff,
v. . Civil Action No. 05-2311
JoANNE BARNHART,

COMMISSIONER OF SOCIAL SECURITY,

Defendant.

 

ORDER OF REMAND

 

Pursuant to the power of this Court to enter a judgment affirming, modifying, or
reversing the Commissioner’s decision With remand in Social Security actions under
Sentence four of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g), and in light
of the Plaintiff’S motion to remand this action to an administrative law judge (“ALJ”), to
further analyze Plaintist medical impairments, including consideration of the most recent
medical records, this Court hereby enters a judgment reversing the decision of the ALJ and
remanding this case to the Commissioner pursuant to sentence four of 42 U.S.C. § 405(g).
See Melkonyan v. Sullivan, 501 U.S. 89, ill S.Ct. 2157 (1991); Shalala v. Schaefer, 509
U.S. 292, 113 S.Ct. 2625 (1993).

SO ORDERED this di day of July, 2005.

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This notice confirms a copy of the document docketed as number 13 in
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AndreW E. Bender

LAW OFFICES OF ANDREW E. BENDER
382 Washington Ave.

l\/iemphis7 TN 38105

Honorable .l on McCalla
US DISTRICT COURT

